                      Case 2:23-cv-00479-JRG Document 1-5 Filed 10/12/23 Page 1 of 1 PageID #: 88
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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Patent Armory Inc.                                                                                     Scantech (Hangzhou) Co., Ltd.

    E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII                                                     &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
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    F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
Rabicoff Law LLC
600 Mamaroneck Ave STE 400, Harrison, NY 10528
7736694590
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                                                                                                    (For Diversity Cases Only)                                        and One Box for Defendant)
u  86*RYHUQPHQW              u  )HGHUDO4XHVWLRQ                                                                     37) '()                                              37)     '()
        3ODLQWLII                         (U.S. Government Not a Party)                        &LWL]HQRI7KLV6WDWH         u     u         ,QFRUSRUDWHGor3ULQFLSDO3ODFH        u       u 
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u  86*RYHUQPHQW              u  'LYHUVLW\                                              &LWL]HQRI$QRWKHU6WDWH          u     u     ,QFRUSRUDWHGand3ULQFLSDO3ODFH      u       u 
        'HIHQGDQW                         (Indicate Citizenship of Parties in Item III)                                                            RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                               &LWL]HQRU6XEMHFWRID           u     u     )RUHLJQ1DWLRQ                        u       u 
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,9 1$785(2)68,7(Place an “X” in One Box Only)                                                                                        &OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV
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u ,QVXUDQFH                  3(5621$/,1-85<          3(5621$/,1-85<           u 'UXJ5HODWHG6HL]XUH          u $SSHDO86&         u )DOVH&ODLPV$FW
u 0DULQH                     u $LUSODQH                u 3HUVRQDO,QMXU\             RI3URSHUW\86&       u :LWKGUDZDO                u 4XL7DP 86&
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u 1HJRWLDEOH,QVWUXPHQW               /LDELOLW\          u +HDOWK&DUH                                                                                  u 6WDWH5HDSSRUWLRQPHQW
u 5HFRYHU\RI2YHUSD\PHQW u $VVDXOW/LEHO                    3KDUPDFHXWLFDO                                                3523(57<5,*+76              u $QWLWUXVW
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u 0HGLFDUH$FW               u )HGHUDO(PSOR\HUV¶              3URGXFW/LDELOLW\                                          u 3DWHQW                    u &RPPHUFH
u 5HFRYHU\RI'HIDXOWHG               /LDELOLW\          u $VEHVWRV3HUVRQDO                                             u 3DWHQW$EEUHYLDWHG      u 'HSRUWDWLRQ
     6WXGHQW/RDQV              u 0DULQH                          ,QMXU\3URGXFW                                              1HZ'UXJ$SSOLFDWLRQ   u 5DFNHWHHU,QIOXHQFHGDQG
      ([FOXGHV9HWHUDQV         u 0DULQH3URGXFW                  /LDELOLW\                                                 u 7UDGHPDUN                      &RUUXSW2UJDQL]DWLRQV
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     RI9HWHUDQ¶V%HQHILWV      u 0RWRU9HKLFOH           u 2WKHU)UDXG               u )DLU/DERU6WDQGDUGV          u +,$ II                     86&RU
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u 2WKHU&RQWUDFW                      3URGXFW/LDELOLW\   u 2WKHU3HUVRQDO            u /DERU0DQDJHPHQW              u ',:&',::  J               3URWHFWLRQ$FW
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u )UDQFKLVH                           ,QMXU\              u 3URSHUW\'DPDJH           u 5DLOZD\/DERU$FW             u 56,  J                u 6HFXULWLHV&RPPRGLWLHV
                                 u 3HUVRQDO,QMXU\               3URGXFW/LDELOLW\      u )DPLO\DQG0HGLFDO                                                 ([FKDQJH
                                          0HGLFDO0DOSUDFWLFH                                      /HDYH$FW                                                    u 2WKHU6WDWXWRU\$FWLRQV
     5($/3523(57<                   &,9,/5,*+76          35,621(53(7,7,216            u 2WKHU/DERU/LWLJDWLRQ          )('(5$/7$;68,76             u $JULFXOWXUDO$FWV
u /DQG&RQGHPQDWLRQ          u 2WKHU&LYLO5LJKWV           +DEHDV&RUSXV             u (PSOR\HH5HWLUHPHQW           u 7D[HV 863ODLQWLII     u (QYLURQPHQWDO0DWWHUV
u )RUHFORVXUH                u 9RWLQJ                  u $OLHQ'HWDLQHH                 ,QFRPH6HFXULW\$FW                RU'HIHQGDQW             u )UHHGRPRI,QIRUPDWLRQ
u 5HQW/HDVH (MHFWPHQW     u (PSOR\PHQW              u 0RWLRQVWR9DFDWH                                             u ,56²7KLUG3DUW\                $FW
u 7RUWVWR/DQG              u +RXVLQJ                        6HQWHQFH                                                        86&              u $UELWUDWLRQ
u 7RUW3URGXFW/LDELOLW\              $FFRPPRGDWLRQV      u *HQHUDO                                                                                       u $GPLQLVWUDWLYH3URFHGXUH
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                                       35 U.S.C. 271, et seq.
9, &$86(2)$&7,21 %ULHIGHVFULSWLRQRIFDXVH
                                       Patent infringement
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